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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  DEREK L. BOYD,                                           )
                                                           )
                                  Plaintiff,               )
                                                           )
                             v.                            )        No. 1:25-cv-00705-JRS-TAB
                                                           )
  DUSTIN CASTER,                                           )
  HEALTH CARE PROVIDER,                                    )
  UNKNOWN OFFICIALS AND PERSONEL,                          )
  HAMILTON COUNTY JAIL,                                    )
                                                           )
                                  Defendants.              )

                                  Order on Motion to Proceed In Forma Pauperis

           The plaintiff's motion to proceed in forma pauperis, dkt. [19], is granted to the extent that

  the plaintiff is assessed an initial partial filing fee of Four Dollars and Eighty-Six Cents ($4.86).

  See 28 U.S.C. § 1915(b)(1); Whitaker v. Dempsey, 83 F.4th 1059, 1061 (7th Cir. 2023) (stating

  that even a prisoner with $2000 in assets might be eligible to proceed in forma pauperis). The

  plaintiff shall have through July 11, 2025, in which to pay this sum to the clerk of the district

  court.

           The plaintiff is informed that after the initial partial filing fee is paid, he will be obligated

  to make monthly payments of 20 percent of the preceding month's income each month that the

  amount in his account exceeds $10.00, until the full filing fee of $350.00 is paid. 28 U.S.C.

  § 1915(b)(2). After the initial partial filing fee is received, a collection order will be issued to the

  plaintiff and the plaintiff's custodian, and the Court will screen the complaint in accordance with

  28 U.S.C. § 1915A.


  Date: 6/12/2025
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